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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
                               SOUTHERN DIVISION

                                     NO. 8:18-CR-157-TDC



   UNITED STATES OF AMERICA                                        NOTICE OF APPEAL

        v.

    LEE ELBAZ


       Pursuant to Rule 4(b) of the Federal Rules of Appellate Procedure, NOTICE IS HEREBY

GIVEN that the Defendant, Lee Elbaz, hereby appeals to the Fourth Circuit Court of Appeals

from the judgment entered in this court in the above-captioned case. As an amended judgment

was entered by the Honorable Judge Theodore D. Chuang on August 19, 2020, this notice is

therefore filed within the time specification established in Rule 4(b)

       Respectfully requested this 24th day of August, 2020.

                                              G. ALAN DUBOIS
                                              Federal Public Defender

                                              /s/ Eric J. Brignac
                                              ERIC J. BRIGNAC
                                              Assistant Federal Public Defender
                                              Attorney for Defendant
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                                              N.C. State Bar No. 28443
                                              LR 57.1 Counsel
                                              Appointed




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                                  CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a copy of the foregoing was served upon:

ANKUSH KHARDORI
CAITLIN R COTTINGHAM
LAWRENCE RUSH ATKINSON
TRACEE J PLOWELL
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By electronically filing the foregoing with the Clerk of Court on August 24, 2020, using the

CM/ECF system which will send notification of such filing to the above.

       This the day of 24th day of August, 2020


                                              /s/ Eric J. Brignac
                                              ERIC J. BRIGNAC
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